EXHIBIT l

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Hinkle, Teri - Equifax Notice of Settlement -

Inbo`X X

Carter, Kendall <KCarter@kslaw.com> NOV 8, 2018, 11203 AM

to me, Meryl, Brad

Dear Ms. Hinkle:

In light of our conversation yesterday, and my sending the fully signed agreement this
morning, please sign the attached and scan back your signed copy. Please give me a call at the
number below if you Would like to discuss.

Regards,

Kendall Carter

Kendall W. Carter | King & Spalding, LLP
1180 Peachtree Street | Atlanta, GA 30309
(direct) 404.572.2495 | (fax) 404.572.5100
kcarter@l<slaw.com | www.kslaw.com

  

Teri Hinkle <queensongbird@gmail.com> NOV 8, 2018, 4133 PM

to Kendall

Mr. Carter,

I was out all day today but here is the signed Notice. You had my address
Wrong so I corrected it.

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Carter, Kendall <KCarter@kslaw.com> NOV 8, 2018, 7115 PM

to Brad, Meryl, me

l\/ls. Hinkle:

Thanks very much for your response | have filed the Notice of Settlement and the agreement
is being submitted to Equifax for payment

Sincerely,
Kendall Ca rter

Kendall W. Carter l King & Spalding, LLP
1180 Peachtree Street | Atlanta, GA 303()9
(direct) 404.572.2495 | (fax`) 404.572.5100
kcarter@kslaw.com ] www.kslaw.com

From: Teri Hinkle [mai|to:queensonqbird@qmai|.coml
Sent: Thursday, November 08, 2018 4:33 PM

To: Carter, Kendall

Subject: Re: Hinkle, Teri - Equifax Notice of Settlement

queensongbird@gmail.com <queensongbird@gmail.com> NOV 20, 2018, 9151 AM

to Kendall

Mr. Carter,

That is well beyond the ten to fourteen days you stated. The court has issued a deadline that I do not intend to miss;
even if that is just to notice the court of a failure to meet the terms of the settlement agreement I would also caution
against mailing the check to the wrong address. I noticed your firm and the court of my change of address last June.

Given the fact that I do not have access to the ECMF system and the slowdown of mail during the holiday season, I
will have to mail notice to the court well before the court ordered deadline of December lOth.

Have a great Thanksgiving

Teri Hinkle

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